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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE
--------------------------------------------------------------- x
                                                                :
In re:                                                          : Chapter 11
                                                                :
PROMISE HEALTHCARE GROUP, LLC, et al.,1 : Case No. 18-12491 (CSS)
                                                                :
                  Debtors.                                      : (Joint Administration Requested)
--------------------------------------------------------------- x

      MOTION OF THE DEBTORS FOR ENTRY OF AN ORDER AUTHORIZING
      DEBTORS TO FILE UNDER SEAL PORTIONS OF ITS CREDITOR MATRIX
         CONTAINING CERTAIN INDIVIDUAL CREDITOR INFORMATION

         Promise Healthcare Group, LLC (“Promise”) and its affiliated debtors and debtors in

possession (collectively, the “Debtors”) in the above-captioned chapter 11 cases (the “Chapter

11 Cases”), by and through their undersigned counsel, file this motion (this “Motion”) pursuant

to sections 105(a) and 107(c)(1) of title 11 of the United States Code (the “Bankruptcy Code”)

and Rule 9018-1 of the of the Local Rules of Bankruptcy Practice and Procedure of the United

States Bankruptcy Court for the District of Delaware (the “Local Rules”), for entry of an order,


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  The Debtors in these Chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
number, are as follows: HLP HealthCare, Inc. (8381), PH-ELA, Inc. (9180), Professional Rehabilitation Hospital,
L.L.C. (5340), Promise Healthcare #2, Inc. (1913), Promise Healthcare Group, LLC (1895), Promise Healthcare
Holdings, Inc. (2601), Bossier Land Acquisition Corp. (6644), HLP of Los Angeles, LLC (9102), HLP of
Shreveport, Inc. (1708), HLP Properties at The Villages Holdings, LLC (0006), HLP Properties at the Villages,
L.L.C. (1938), HLP Properties of Vidalia, LLC (4255), HLP Properties, Inc. (0068), Promise Healthcare of
California, Inc. (9179), Promise Healthcare, Inc. (7953), Promise Hospital of Ascension, Inc. (9219), Promise
Hospital of Baton Rouge, Inc. (8831), Promise Hospital of Dade, Inc. (7837), Promise Hospital of Dallas, Inc.
(0240), Promise Hospital of East Los Angeles, L.P. (4671), Promise Hospital of Florida at The Villages, Inc.
(2171), Promise Hospital of Louisiana, Inc. (4886), Promise Hospital of Lee, Inc. (8552), Promise Hospital of
Overland Park, Inc. (5562), Promise Hospital of Phoenix, Inc. (1318), Promise Hospital of Salt Lake, Inc. (0659),
Promise Hospital of Vicksburg, Inc. (2834), Promise Hospital of Wichita Falls, Inc. (4104), Promise Properties of
Dade, Inc. (1592), Promise Properties of Lee, Inc. (9065), Promise Properties of Shreveport, LLC (9057), Promise
Skilled Nursing Facility of Overland Park, Inc. (5752), Promise Skilled Nursing Facility of Wichita Falls, Inc.
(1791), Quantum Health, Inc. (4298), Quantum Properties, L.P. (8203), St. Alexius Hospital Corporation #1 (2766),
St. Alexius Properties, LLC (4610), Success Healthcare 1, LLC (6535), Success Healthcare 2, LLC (8861), Success
Healthcare, LLC (1604), Vidalia Real Estate Partners, LLC (4947), LH Acquisition, LLC (2328), Promise
Behavioral Health Hospital of Shreveport, Inc. (1823), Promise Rejuvenation Centers, Inc. (7301), Promise
Rejuvenation Center at the Villages, Inc. (7529), and PHG Technology Development and Services Company, Inc.
(7766). The mailing address for the Debtors, solely for purposes of notices and communications, is 999 Yamato
Road, 3rd FL, Boca Raton, FL 33431.


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substantially in the form attached hereto as Exhibit A (the “Proposed Order”), (a) authorizing

the Debtors to file a redacted version of its creditor matrix, filed contemporaneously herewith,

(b) authorizing the Debtors to file under seal an unredacted version of its creditor matrix, and (c)

granting such other relief as the Court deems just and proper. In support of the Motion, the

Debtors rely on and incorporate by reference the Declaration of Andrew Hinkelman in Support of

First Day Relief (the “First Day Declaration”), and respectfully represent:

                                  JURISDICTION AND VENUE

         1.        The Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. §§ 157

and 1334, and the Amended Standing Order of Reference from the United States District Court

for the District of Delaware, dated February 29, 2012. This is a core proceeding pursuant to

28 U.S.C. § 157(b) and, pursuant to Rule 9013–1(f) of the Local Rules, the Debtors consent to

the entry of a final order by the Court in connection with this matter to the extent that it is later

determined that the Court, absent consent of the parties, cannot enter final orders or judgments

consistent with Article III of the United States Constitution. Venue is proper before the Court

pursuant to 28 U.S.C. §§ 1408 and 1409.

                                          BACKGROUND

         2.        On the date hereof (the “Petition Date”), each of the Debtors commenced cases

under chapter 11 of the Bankruptcy Code. The Debtors are operating their businesses and

managing their properties as debtors in possession pursuant to sections 1107(a) and 1108 of the

Bankruptcy Code. No request for the appointment of a trustee or examiner has been made in the

Chapter 11 Cases, and no committees have been appointed or designated.




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         3.        A description of the Debtors’ businesses, the reasons for commencing the

Chapter 11 Cases, the relief sought from the Court, and the facts and circumstances supporting

this Motion are set forth in the First Day Declaration filed contemporaneously herewith.

                                       RELIEF REQUESTED

         4.        By this Motion, the Debtors seek entry of the Proposed Order (a) authorizing the

Debtors to file a redacted version of the creditor matrix, (b) authorizing the Debtors to file under

seal an unredacted version of the creditor matrix, and (c) granting such other and further relief as

the Court deems just and proper.

                                BASIS FOR RELIEF REQUESTED

         5.        The relief requested by the Debtors is authorized under sections 105(a) and

107(c)(1) of the Bankruptcy Code. Section 105(a) of the Bankruptcy Code provides that “[t]he

court may issue an order, process, or judgment that is necessary or appropriate to carry out the

provisions of this title.” 11 U.S.C. § 105(a). Section 107(c) of the Bankruptcy Code provides that

the Court “for cause, may protect an individual, with respect to the following types of

information to the extent the court finds that disclosure of such information would create undue

risk of identity theft . . . [a]ny means of identification . . . contained in a paper filed, or to be filed

in a case under” the Bankruptcy Code. 11 U.S.C. § 107(c)(1)(A).

         6.        Local Rule 9018-1(d) requires any party who seeks to file documents under seal

to file a motion to that effect. Del. Bankr. L.R. 9018-1(d).

         7.        The Debtors respectfully submit that cause exists to authorize the Debtors to

redact the address information of individual creditors—many of whom are the Debtors’

employees—from the creditor matrix because such information could be used to perpetrate



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identity theft. Therefore, the Debtors request that the Court enter an order permitting the Debtors

to file the creditor matrix under seal.

                                               NOTICE

         8.        The Debtors have provided notice of the filing of the Motion to: (i) the Office of

the United States Trustee; (ii) the Debtors’ 30 largest unsecured creditors on a consolidated

basis; (iii) counsel to Wells Fargo, N.A., as administrative agent under the Debtors’ prepetition

credit facility; (iv) the Internal Revenue Service; (v) the United States Attorney for the District of

Delaware; (vi) the United States Department of Justice; (vii) the State Attorney General’s Office

in each state where the Debtors operate; and (viii) any party that has requested notice pursuant to

Bankruptcy Rule 2002 (collectively, the “Notice Parties”). As this Motion is seeking “first day”

relief, notice of this Motion and any order entered in connection with the Motion will be served

on all parties required by Local Rule 9013-1(m). Due to the urgency of the circumstances

surrounding this Motion and the nature of the relief in it, the Debtors respectfully submit that no

further notice of this Motion is required.

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          WHEREFORE, the Debtors respectfully request entry of the Proposed Order granting

the relief requested herein and such other and further relief as the Court may deem just and

proper.


Dated: November 5, 2018                     DLA PIPER LLP (US)
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                                            Proposed Attorneys for the Debtors and
                                            Debtors in Possession




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